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                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF KENTUCKY
                                 LEXINGTON DIVISION

  IN RE:

  TAMESHIA F. HOLLOWAY                                                  Chapter 13
                                                                        Case No. 22-50246
  DEBTOR(S)

  BEVERLY M. BURDEN                                                     PLAINTIFF
  For the Bankruptcy Estate of
  Tameshia F. Holloway

  V.                                                                    Adv. No. 24-

  CARVANA, LLC                                                          DEFENDANT

                         COMPLAINT WITH ATTACHED EXHIBITS

           Comes the Trustee, Beverly Burden, by counsel, and for her complaint

  respectfully alleges as follows:

                                 JURISDICTION AND VENUE

           1. This is an adversary proceeding brought pursuant to FRBP Rule 7001 of Title

  11 of the United States Code.

           2. The jurisdiction of this case is based upon 28 U.S.C. 1334 in that it arises

  under Title 11 U.S.C..

           3. This is a core proceeding under 28 U.S.C. 157 and specifically 11 U.S.C.

  157(b)(2)(F).

           4. Venue for this complaint is proper pursuant to 28 U.S.C. 1409.

           5. This is an adversary complaint brought under 11 U.S.C. sections 105, 547, 550

  and 551.
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           6. This proceeding is related to the bankruptcy case, In Re: Tameshia F. Hollow,

  Case No.: 22-50246, presently pending in the United States Bankruptcy Court for the

  Eastern District of Kentucky, Lexington, Kentucky.

           7. The parties consent to entry of final orders or judgment by the Bankruptcy

  Court.

                                            PARTIES

           8. Plaintiff Beverly Burden is the duly appointed Chapter 13 Trustee for

  Tameshia F. Holloway who filed her bankruptcy on March 23, 2022 in the Eastern

  District of Kentucky, Lexington, Kentucky.

           9. Carvana, LLC (“Carvana”) is the lender/creditor in this action. (POC No. 16).

           10. Tameshia F. Holloway owns a 2018 GMC Terrain Vin Number

  3GKALPEV0JL328651 which is the subject of this adversary.

                                  FACTUAL ALLEGATIONS

           11. The Debtor filed her bankruptcy petition on March 23, 2022 in the Eastern

  District of Kentucky, Lexington, Kentucky.

           12. On November 30, 2021, the Debtor entered into a Retail Installment Sale

  Contract with Carvana. (See POC No. 16).

           13. Carvana did not perfect its interest in the subject 2018 GMC Terrain Vin

  Number 3GKALPEV0JL328651 until October 21, 2022 and after the filing of the

  debtor’s bankruptcy petition. (Exhibit 1).

                                I. PREFERENTIAL TRANSFER

           14. Plaintiff incorporates all previous paragraphs.
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         15. The transfer of the Debtor’s interest was for the benefit of a creditor, for or on

  an account of an antecedent debt owed by the Debtor before the transfer was made, while

  the Debtor was insolvent, within 90 days of the filing of the petition, to or for the benefit

  of the Defendant, a creditor, for or on account of an antecedent debt owed by the debtor

  before the transfer was made, the security interest was not perfected on or before 30 days

  after the debtor received possession of such property and enabled the creditor to receive

  more than such creditor would receive if the case were a case under chapter 7 of Title 11

  United States Code, the transfer had not been made and the creditor received payment of

  its debt to the extent provided by the provisions of Title 11 U.S.C..

         WHEREFORE, the Plaintiff prays the Court enter a judgment in favor of the

  Plaintiff against the Defendant as follows:

         A. The Trustee’s interest in the 2018 GMC Terrain Vin Number

  3GKALPEV0JL328651 is superior to all others and that any interest defendant Carvana,

  LLC may have in the property described above is subordinate to the interest of the

  Trustee on behalf of the estate and that the claim of Carvana, LLC is unsecured.

         B. That this Court order Defendant Carvana, LLC to issue and file a Termination

  Statement (UCC-3) with the County Clerk terminating any lien in the 2018 GMC Terrain

  Vin Number 3GKALPEV0JL328651.

         C. That Plaintiff recover her costs, expenses, and be granted any other relief

  which she is entitled at law and in equity.
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                                        Atkinson, Simms & Kermode PLLC
                                        1608 Harrodsburg Rd
                                        Lexington, Kentucky 40504
                                        (859) 225-1745 Telephone
                                        (859) 254-2012 FAX
                                        JDK@ASK-LAW.COM



                                        By: /s/ J. D. Kermode
                                        J. D. KERMODE
                                        ATTORNEY FOR PLAINTIFF
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                                EXHIBIT 1
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